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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 DEBORAH K. MURPHY-DAVIDSON,

       Plaintiff,                                           Honorable Phillip J. Green

 v.                                                         Case No. 1:14-cv-00779

 KENNETH J. STOLL, et al.,

      Defendants.
 _________________________________/

                                              ORDER

       This matter is before the Court on defendants’ Bill of Costs. (ECF No. 208). Plaintiff has

filed objections. (ECF No. 209). Defendants shall, within fourteen days of the date of this order,

file a response to each of plaintiff's objections. Failure to timely respond will result in a denial of

the Bill of Costs.

       IT IS SO ORDERED.



Date: October 5, 2017                                   /s/ Phillip J. Green
                                                       PHILLIP J. GREEN
                                                       United States Magistrate Judge
